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                            UNITED STATES BANKRUPTCY COURT
                                         FOR THE
                          DISTRICT OF CONNECTICUT (BRIDGEPORT)

In Re: Johnny Ray Moore a/k/a                             Chapter 13
       Johnny R. Moore                                    Case No.: 16-51133
         Debtor

The Bank of New York Mellon FKA The Bank of
New York, as Trustee for the certificateholders of
the CWABS, Inc., Asset-Backed Certificates,
Series 2006-12
          Movant,
vs.

Johnny Ray Moore a/k/a
Johnny R. Moore
Molly T. Whiton, Esq., Trustee
         Respondents
_______________________________________/

 MOTION OF THE BANK OF NEW YORK MELLON FKA THE BANK OF NEW YORK, AS
 TRUSTEE FOR THE CERTIFICATEHOLDERS OF THE CWABS, INC., ASSET-BACKED
    CERTIFICATES, SERIES 2006-12 FOR RELIEF FROM THE AUTOMATIC STAY
                                 PURSUANT

       The Bank of New York Mellon FKA The Bank of New York, as Trustee for the

certificateholders of the CWABS, Inc., Asset-Backed Certificates, Series 2006-12 (“Movant”), a

creditor in the above captioned Chapter  proceeding, moves this Court for an Order, pursuant to 11

U.S.C. §362(d) so that it may foreclosure a Mortgage which it holds on real property known and

numbered as 73-75 Baldwin Street, Bridgeport, CT 06607. In support of its motion, Movant states the

following:

       1.     On May 26, 2006, Johnny Ray Moore (“Debtor”) executed and delivered a Note (the

“Note”, a copy of which is attached hereto as Exhibit “A”) to Countrywide Home Loans, Inc. The

Note was secured by a Mortgage also dated May 26, 2006 and recorded in the City of Bridgeport Land

Records in Book 6992 at Pages 323 (the “Mortgage”, a copy of which is attached here to Exhibit “B”)

on real property owned by Debtor and known and numbered as 73-75 Baldwin Street, Bridgeport, CT

06607 (the “Real Property”).
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       2.      Movant is the current holder of the Mortgage by virtue of an Assignment of Mortgage

recorded in the City of Bridgeport Land Records in Book 8549 at Page 210 (the “Assignment”, a copy

of which is attached hereto as Exhibit “C”).

       3.      There is no other collateral securing the Note.

       4.      Specialized Loan Servicing LLC services the loan on the Property referenced in this

Motion. In the event the automatic stay in this case is modified, this case dismisses, and/or the Debtor

obtains a discharge and a foreclosure action is commenced on the mortgaged property, the foreclosure

will be conducted in the name of Movant or Movant’s successor or assignee. Movant, directly or

through an agent, has possession of the Note. The Note is either made payable to Movant or has been

duly endorsed. Movant is the original mortgagee or beneficiary or the assignee of the Mortgage/Deed

of Trust.

       5.      Movant has not filed a complaint to foreclose in the Connecticut Superior Court.

       6.      On August 24, 2016, Debtor filed a petition for relief under Chapter 13 of the United

States Bankruptcy Code.

       7.      As of February 16, 2017, the post-petition delinquency owed by the Debtor on the Note

is $8,330.03 (see “Affidavit in Support of Motion for Relief” attached hereto as Exhibit “D”). Movant

estimates that, if a hearing on this motion is held within thirty days of the date of filing, an additional

payment will come due and owing.

       8.      According to Debtor’s Schedules, the fair market value of the Real Property is

$150,000.00, which is an admission by Debtor. A copy of Schedule A is attached hereto as Exhibit “E”.

       9.      Upon information and belief, there are no additional liens or encumbrances on the Real

Property.

       10.     As of February 16, 2017, the total outstanding balance owed on the Note was

$94,678.12 (see Exhibit “D”).

       11.     The estimated total amount of encumbrances on the Real Property is $94,678.12.
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       12.     According to Movant’s Proof of Claim, the total pre-petition arrearage is $1,973.53.

       13.     Debtor’s Chapter 13 Plan has not been confirmed and does not provide for any treatment

of Movant’s secured claim.

       14.     Movant is entitled to relief from the automatic stay for cause pursuant to 11 U.S.C.

§362(d)(1) because Debtor has not made payments pursuant to the Note and Mortgage.

       15.     Movant is entitled to relief from the automatic stay for cause pursuant to 11 U.S.C.

§362(d)(2) because the Debtor has no equity in the Real Property and the Real Property is not

necessary for an effective reorganization.

       WHEREFORE, Movant moves that the Court enter an Order granting Movant relief from the

automatic stay pursuant to 11 U.S.C. §362(d) so that it, and its successors and assigns, may proceed to

exercise its rights pursuant to the Note and Mortgage. They may also proceed according to applicable

state and federal law to commence, continue and prosecute to judgment a foreclosure action with

respect to the Real Property and that entry of the Order shall be effective immediately upon entry,

notwithstanding the provisions of FRBP 4001(a)(3).


                                                     The Bank of New York Mellon FKA The Bank of
                                                     New York, as Trustee for the certificateholders of
                                                     the CWABS, Inc., Asset-Backed Certificates,
                                                     Series 2006-12
                                                     By its attorneys,

Date: March 16, 2017                                 /s/ Patricia A. Davis, Esq.
                                                     Patricia A. Davis, Esq. # 25753
                                                     Marinosci Law Group, P.C.
                                                     275 West Natick Road, Suite 500
                                                     Warwick, RI 02886
                                                     Telephone: (401) 234-9200 x 171
                                                     pdavis@mlg-defaultlaw.com
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                           UNITED STATES BANKRUPTCY COURT
                                        FOR THE
                         DISTRICT OF CONNECTICUT (BRIDGEPORT)

In Re: Johnny Ray Moore a/k/a                           Chapter 13
       Johnny R. Moore                                  Case No.: 16-51133
            Debtor,
______________________________________/

                                  CERTIFICATE OF SERVICE

 In accordance with the applicable provisions of the Federal Rules of Bankruptcy
 Procedure, 2002 and 7004, the undersigned certifies that on the 16th day of March, 2017, the
 following documents were served on the U.S. Trustee and all appearing parties via the court’s
 electronic filing system or, by first class mail on the parties listed in section 2 below.

  1. Documents Served:

       1.     Motion for Relief

       2.     Exhibits A through E

       3.     Proposed Order

       4.     Notice of Contested Matter

       5.     Certificate of Service
                                                    /s/ Patricia A. Davis, Esq.
                                                    Patricia A. Davis, Esq. # 25753
                                                    Marinosci Law Group, P.C.
                                                    275 West Natick Road, Suite 500
                                                    Warwick, RI 02886
                                                    Telephone: (401) 234-9200

VIA ECF
U.S. Trustee, on behalf of the US Trustee
Molly T. Whiton, Esq., on behalf of the Trustee
Linda St. Pierre, Esq., on behalf of PennyMac Holdings, LLC
Matthew K. Beatman, Esq., on behalf of Hampshire House Condominium
Juda J. Epstein, Esq., on behalf of Water Pollution Control Authority
Victoria L. Forcella, Esq., on behalf of JP Morgan Chase Bank
Mark L. Bergano, Esq., on behalf of U.S. Bank, National Association
Mark L. Bergano, Esq., on behalf of Tower Lien, LLC
Michael T. Rozea, Esq., on behalf of Bank of America, N.A.
Linda St. Pierre, Esq., on behalf of Bank of America, N.A.
Walter M. Spader, Esq., on behalf of Tower Lien, LLC
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VIA US MAIL
Johnny Ray Moore
15 Sachem Drive
Shelton, CT 06484

City of Bridgeport – Tax Collector Office
Attn: Veronica Jones
45 Lyon Terrace, Room 123
Bridgeport, CT 06604
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                            UNITED STATES BANKRUPTCY COURT
                                         FOR THE
                          DISTRICT OF CONNECTICUT (BRIDGEPORT)

In Re: Johnny Ray Moore a/k/a                              Chapter 13
       Johnny R. Moore                                     Case No.: 16-51133
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Series 2006-12
          Movant,
vs.

Johnny Ray Moore a/k/a
Johnny R. Moore
Molly T. Whiton, Esq., Trustee
         Respondents
_______________________________________/

                 NOTICE OF CONTESTED MATTER RESPONSE DEADLINE

       The Bank of New York Mellon FKA The Bank of New York, as Trustee for the

certificateholders of the CWABS, Inc., Asset-Backed Certificates, Series 2006-12 (the “Movant”) has

filed a Motion for Relief, (the “Contested Matter”) in the above-captioned case. Notice is hereby

given that any response to the Contested Matter must be filed with the Court no later than

March 30, 2017.* In the absence of a timely filed response, the proposed order in the Contested

Matter may enter without further notice and hearing, see, 11 U.S.C. § 102(1).

                                                     The Bank of New York Mellon FKA The Bank of
                                                     New York, as Trustee for the certificateholders of
                                                     the CWABS, Inc., Asset-Backed Certificates,
                                                     Series 2006-12

Date: March 16, 2017                                 /s/ Patricia David, Esq.
                                                     Patricia Davis, Esq. #25753
                                                     Marinosci Law Group, P.C.
                                                     275 West Natick Road, Suite 500
                                                     Warwick, RI 02886
                                                     Telephone: (401) 234-9200

*Pursuant to Federal Rule of Bankruptcy Procedure 9006(f), if service is made by mail, three days are
added after the response date set in this notice
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                            UNITED STATES BANKRUPTCY COURT
                                         FOR THE
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In Re: Johnny Ray Moore a/k/a                              Chapter 13
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Johnny Ray Moore a/k/a
Johnny R. Moore
Molly T. Whiton, Esq., Trustee
         Respondents
_______________________________________/

                                 ORDER GRANTING
                    MOTION FOR RELIEF FROM THE AUTOMATIC STAY

       After notice and a hearing, of The Bank of New York Mellon FKA The Bank of New York, as

Trustee for the certificateholders of the CWABS, Inc., Asset-Backed Certificates, Series 2006-12’s

(hereafter, the “Movant”) Motion for Relief from Stay (hereafter, the “Motion”), ECF No. ____

       IT IS HEREBY ORDERED that the Motion is GRANTED – the automatic stay of 11 U.S.C.

§ 362(a) is modified pursuant to section § 362(d) to permit the Movant, and/or its successors and

assigns, to commence, continue and prosecute to judgment a foreclosure action and otherwise exercise

its rights, if any, with respect to real property known as 73-75 Baldwin Street, Bridgeport, CT 06607 in

accordance with applicable state law, and

       IT IS FURTHER ORDRED that the 14-day stay of by Fed. R. Bankr. P. 4001(a)(3) is no

applicable and the Movant may immediately enforce and implement its Order.

       At _________________________ this _____ day of ______________, 2017

                                                  ______________________________________
                                                  U.S. BANKRUPTCY JUDGE
